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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


                                                     )
In re:                                               ) Chapter 7
                                                     )
AKORN INTERMEDIATE COMPANY LLC                       ) Case No. 23-10254-KBO
                                                     )
                    Debtor.                          )
                                                     )

                              REQUEST FOR SPECIAL NOTICE

         TO:    THE HONORABLE KAREN B. OWENS, UNITED STATES BANKRUPTCY

JUDGE, THE ABOVE-CAPTIONED DEBTOR, CHAPTER 7 TRUSTEE, THE OFFICE OF

THE UNITED STATES TRUSTEE, OTHER PARTIES IN INTEREST, AND THEIR

COUNSEL OF RECORD:

         Pursuant to 11 U.S.C. § 1109(b), the undersigned, as counsel for McKesson Corporation,

on behalf of itself and certain corporate affiliates (collectively, “McKesson”) hereby requests

that all parties in interest and all counsel of record provide the following person with copies of

all notices, pleadings, and other filings in the above-captioned case. Counsel of record is

requested to direct all written or telephonic correspondence as follows:

                                    Jeffrey K. Garfinkle, Esq.
                              Buchalter, A Professional Corporation
                              18400 Von Karman Avenue, Suite 800
                                        Irvine, CA 92612
                                   jgarfinkle@buchalter.com
                                  Telephone: (949) 760-1121

         Please take further notice that the foregoing request includes all notices and papers

referred to in the Bankruptcy Rules and Local Bankruptcy Rules and additionally includes,

without limitation, notices of any application, complaint, demand, hearing, motion, pleading or

request, formal or informal, whether conveyed by mail, telephone or otherwise.




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        McKesson additionally requests that the Debtor, the Clerk of the Court, the Chapter 7

Trustee, and any court-approved noticing agent place the undersigned counsel on any mailing

matrix to be prepared or existing in the above-captioned case.

        Neither this Request for Notice nor any subsequent appearance, pleading, claim, proof of

claim, document, suit, motion nor any other writing or conduct, shall constitute a waiver of

McKesson to its:

        1.      Right to have any and all final orders in any and all non-core matters entered only

after de novo review by a United States District Court Judge;

        2.      Right to trial by jury in any proceeding as to any and all matters so triable herein,

whether or not the same be designated legal or private rights, or in any case, controversy or

proceeding related thereto, notwithstanding the designation vel non of such matters as “core

proceedings” pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial is pursuant to

statute or the United States Constitution;

        3.      Right to have the reference of this matter withdrawn by the United States District

Court in any matter or proceeding subject to mandatory or discretionary withdrawal; and

        4.      Other rights, claims, actions, defenses, setoffs, recoupments or other matters to

which McKesson is entitled under any agreements or at law or in equity or under the United

States Constitution.




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        All of the above rights are expressly reserved and preserved unto this party without

exception and with no purpose of confessing or conceding jurisdiction in any way by this filing

or by any other participation in these matters.

DATED: February 27, 2023                              BUCHALTER, A Professional Corporation



                                                      By: /s/ Jeffrey K. Garfinkle
                                                      Jeffrey K. Garfinkle, Esq.
                                                      (Cal. Bar No. 153496)
                                                      18400 Von Karman Avenue, Suite 800
                                                      Irvine, CA 92612
                                                      Telephone: (949) 760-1121
                                                      jgarfinkle@buchalter.com

                                                      Counsel for McKesson Corporation, on
                                                      behalf of itself and certain corporate
                                                      affiliates




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